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                                   6                               UNITED STATES DISTRICT COURT

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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                  10   DAWN DANGAARD, et al.,
                                  11                Plaintiffs,                          No. 22-cv-01101-WHA

                                  12         v.
Northern District of California
 United States District Court




                                  13   INSTAGRAM, LLC, et al.,                           FURTHER QUESTION FOR ORAL
                                                                                         ARGUMENT TODAY
                                  14                Defendants.

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                                  16      6) With respect to the three named plaintiffs, what evidence do plaintiffs have to show the

                                  17         precipitous drop off in web traffic for defendants’ websites? Give specific numbers.

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                                  21   Dated: May 29, 2024.

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                                                                                            WILLIAM ALSUP
                                  24                                                        UNITED STATES DISTRICT JUDGE
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